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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

Vy. Criminal No. 19-cr-18-ABJ
ROGER J. STONE, JR.,

Defendant.

 

NOTICE OF WITHDRAWAL
Pursuant to Local Rule of Criminal Procedure 44.5(e), please notice the withdrawal of

Aaron S.J. Zelinsky as counsel for the Government in the above-captioned matter.

Respectfully submitted,

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Aaron S.J. Zelipsk i,
Special Assistant pe a Stats Attorney”
District of Columbia

555 4th Street NW

Washington, D.C. 20530

February 11, 2020

 

* The Court is advised that the undersigned attorney has resigned effective immediately after this filing as a Special
Assistant United States Attorney for the District of Columbia.
